Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 1 of 188 PageID #: 15




                                                                       1
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 2 of 188 PageID #: 16
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 3 of 188 PageID #: 17
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 4 of 188 PageID #: 18
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 5 of 188 PageID #: 19
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 6 of 188 PageID #: 20
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 7 of 188 PageID #: 21
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 8 of 188 PageID #: 22
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 9 of 188 PageID #: 23
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 10 of 188 PageID #: 24
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 11 of 188 PageID #: 25
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 12 of 188 PageID #: 26
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 13 of 188 PageID #: 27
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 14 of 188 PageID #: 28
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 15 of 188 PageID #: 29
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 16 of 188 PageID #: 30
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 17 of 188 PageID #: 31
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 18 of 188 PageID #: 32
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 19 of 188 PageID #: 33
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 20 of 188 PageID #: 34
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 21 of 188 PageID #: 35
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 22 of 188 PageID #: 36
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 23 of 188 PageID #: 37
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 24 of 188 PageID #: 38
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 25 of 188 PageID #: 39
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 26 of 188 PageID #: 40
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 27 of 188 PageID #: 41
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 28 of 188 PageID #: 42
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 29 of 188 PageID #: 43
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 30 of 188 PageID #: 44
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 31 of 188 PageID #: 45
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 32 of 188 PageID #: 46
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 33 of 188 PageID #: 47
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 34 of 188 PageID #: 48
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 35 of 188 PageID #: 49
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 36 of 188 PageID #: 50
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 37 of 188 PageID #: 51
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 38 of 188 PageID #: 52
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 39 of 188 PageID #: 53
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 40 of 188 PageID #: 54
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 41 of 188 PageID #: 55
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 42 of 188 PageID #: 56
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 43 of 188 PageID #: 57
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 44 of 188 PageID #: 58
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 45 of 188 PageID #: 59
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 46 of 188 PageID #: 60
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 47 of 188 PageID #: 61
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 48 of 188 PageID #: 62
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 49 of 188 PageID #: 63
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 50 of 188 PageID #: 64
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 51 of 188 PageID #: 65
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 52 of 188 PageID #: 66
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 53 of 188 PageID #: 67
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 54 of 188 PageID #: 68
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 55 of 188 PageID #: 69
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 56 of 188 PageID #: 70
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 57 of 188 PageID #: 71
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 58 of 188 PageID #: 72
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 59 of 188 PageID #: 73
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 60 of 188 PageID #: 74
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 61 of 188 PageID #: 75
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 62 of 188 PageID #: 76
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 63 of 188 PageID #: 77
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 64 of 188 PageID #: 78
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 65 of 188 PageID #: 79
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 66 of 188 PageID #: 80
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 67 of 188 PageID #: 81
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 68 of 188 PageID #: 82
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 69 of 188 PageID #: 83
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 70 of 188 PageID #: 84
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 71 of 188 PageID #: 85
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 72 of 188 PageID #: 86
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 73 of 188 PageID #: 87
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 74 of 188 PageID #: 88
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 75 of 188 PageID #: 89
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 76 of 188 PageID #: 90
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 77 of 188 PageID #: 91
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 78 of 188 PageID #: 92
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 79 of 188 PageID #: 93
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 80 of 188 PageID #: 94
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 81 of 188 PageID #: 95
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 82 of 188 PageID #: 96
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 83 of 188 PageID #: 97
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 84 of 188 PageID #: 98
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 85 of 188 PageID #: 99
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 86 of 188 PageID #: 100
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 87 of 188 PageID #: 101
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 88 of 188 PageID #: 102
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 89 of 188 PageID #: 103
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 90 of 188 PageID #: 104
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 91 of 188 PageID #: 105
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 92 of 188 PageID #: 106
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 93 of 188 PageID #: 107
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 94 of 188 PageID #: 108
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 95 of 188 PageID #: 109
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 96 of 188 PageID #: 110
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 97 of 188 PageID #: 111
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 98 of 188 PageID #: 112
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 99 of 188 PageID #: 113
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 100 of 188 PageID #: 114
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 101 of 188 PageID #: 115
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 102 of 188 PageID #: 116
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 103 of 188 PageID #: 117
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 104 of 188 PageID #: 118
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 105 of 188 PageID #: 119
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 106 of 188 PageID #: 120
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 107 of 188 PageID #: 121
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 108 of 188 PageID #: 122
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 109 of 188 PageID #: 123
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 110 of 188 PageID #: 124
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 111 of 188 PageID #: 125
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 112 of 188 PageID #: 126
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 113 of 188 PageID #: 127
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 114 of 188 PageID #: 128
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 115 of 188 PageID #: 129
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 116 of 188 PageID #: 130
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 117 of 188 PageID #: 131
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 118 of 188 PageID #: 132
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 119 of 188 PageID #: 133
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 120 of 188 PageID #: 134
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 121 of 188 PageID #: 135
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 122 of 188 PageID #: 136
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 123 of 188 PageID #: 137
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 124 of 188 PageID #: 138
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 125 of 188 PageID #: 139
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 126 of 188 PageID #: 140
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 127 of 188 PageID #: 141
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 128 of 188 PageID #: 142
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 129 of 188 PageID #: 143
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 130 of 188 PageID #: 144
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 131 of 188 PageID #: 145
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 132 of 188 PageID #: 146
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 133 of 188 PageID #: 147
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 134 of 188 PageID #: 148
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 135 of 188 PageID #: 149
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 136 of 188 PageID #: 150
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 137 of 188 PageID #: 151
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 138 of 188 PageID #: 152
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 139 of 188 PageID #: 153
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 140 of 188 PageID #: 154
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 141 of 188 PageID #: 155
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 142 of 188 PageID #: 156
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 143 of 188 PageID #: 157
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 144 of 188 PageID #: 158
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 145 of 188 PageID #: 159
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 146 of 188 PageID #: 160
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 147 of 188 PageID #: 161
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 148 of 188 PageID #: 162
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 149 of 188 PageID #: 163
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 150 of 188 PageID #: 164
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 151 of 188 PageID #: 165
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 152 of 188 PageID #: 166
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 153 of 188 PageID #: 167
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 154 of 188 PageID #: 168
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 155 of 188 PageID #: 169
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 156 of 188 PageID #: 170
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 157 of 188 PageID #: 171
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 158 of 188 PageID #: 172
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 159 of 188 PageID #: 173
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 160 of 188 PageID #: 174
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 161 of 188 PageID #: 175
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 162 of 188 PageID #: 176
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 163 of 188 PageID #: 177
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 164 of 188 PageID #: 178
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 165 of 188 PageID #: 179
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 166 of 188 PageID #: 180
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 167 of 188 PageID #: 181
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 168 of 188 PageID #: 182
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 169 of 188 PageID #: 183
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 170 of 188 PageID #: 184
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 171 of 188 PageID #: 185
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 172 of 188 PageID #: 186
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 173 of 188 PageID #: 187
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 174 of 188 PageID #: 188
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 175 of 188 PageID #: 189
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 176 of 188 PageID #: 190
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 177 of 188 PageID #: 191
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 178 of 188 PageID #: 192
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 179 of 188 PageID #: 193
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 180 of 188 PageID #: 194
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 181 of 188 PageID #: 195
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 182 of 188 PageID #: 196
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 183 of 188 PageID #: 197
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 184 of 188 PageID #: 198
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 185 of 188 PageID #: 199
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 186 of 188 PageID #: 200
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 187 of 188 PageID #: 201
Case 1:17-cv-01054-SOH Document 1-1   Filed 08/14/17 Page 188 of 188 PageID #: 202
